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IN THE CIRCUIT COURT OF THE NINTH
JUDICIAL CIRCUIT IN AND FOR

 

ORANGE COUNTY, FLORIDA

PATRICIA FRY, CASE NO:

Plaintiff,
VS.
FIVE BELOW, INC.,
AND JOHN DOE,

Defendants.

/
COMPLAINT.

COMES NOW, Plaintiff, PATRICIA FRY, by and through the undersigned attorneys,
and sues the Defendants, FIVE BELOW, INC. AND JOHN DOE, and alleges as follows:

1. This is an action for damages that exceeds the sum of THIRTY THOUSAND
DOLLARS ($30,000.00), exclusive of costs, interest, and attorneys’ fees. (The estimated value
of Plaintiff's claim is in excess of the minimum jurisdictional threshold required by this Court).
Accordingly, Plaintiff has entered “$30,001” in the civil cover sheet for the “estimated amount of
the claim” as required in the preamble to the civil cover sheet for jurisdictional purposes only
(the Florida Supreme Court has ordered that the estimated “amount of claim” be set forth in the
civil cover sheet for data collection and clerical purposes only). The actual value of Plaintiff's
claim will be determined by a fair and just jury in accordance with Article 1, Section 21, Fla.
Const.

2. Plaintiff is a natural person residing in Orange County, Florida.

3. At all times material to this action, FIVE BELOW, INC. is/was a foreign profit

corporation licensed to do business in the State of Florida.
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4, At all times material to this action, Defendant, JOHN DOE, is a natural person
working as a store manager for the Defendant, FIVE BELOW, INC. in Seminole County,
Florida.

5. At all times material hereto, Defendant, JOHN DOE, was an employee of
Defendant, FIVE BELOW, INC., was in charge of the daily operations and is directly
responsible for ensuring that the Defendant’s premises are maintained on a daily basis in a clean

and safe manner.

COUNT I:
NEGLIGENCE AGAINST FIVE BELOW, INC.
6. Plaintiff realleges and incorporates by reference paragraphs one through five
above and further states:
7. At all times material hereto, Defendant was the owner and operated a certain

business known as Five Below located at 1771 WP Ball Park Boulevard, Sanford, FL 32771,
said business being that of a retail store, open to the general public, including the Plaintiff herein.

8. At all times material to this cause of action, Defendant had possession and control
of the store located at 1771 WP Ball Park Boulevard, Sanford, FL 32771, where the incident
described in this Complaint occurred and was responsible for the maintenance and upkeep of
said premises.

9. At all times material to this cause of action, Defendant had a non-delegable duty
to maintain the subject property in a reasonable safe condition.

10. On or about August 14, 2019, Plaintiff, PATRICIA FRY, visited Defendant’s

premises located at the above address as a business invitee.

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11. At said time and place, Plaintiff, PATRICIA FRY, was a guest at FIVE
BELOW, INC. as described above, lawfully upon the premises of the Defendant, who owed
Plaintiff a non-delegable duty to exercise reasonable care for her safety.

12. At the time Plaintiff was at the store located at 1771 WP Ball Park Boulevard,
Sanford, FL 32771, a dangerous condition existed on said premises. This dangerous condition
consisted of improperly stored boxes in the stock room.

13. At said time and place, Defendant breached its non-delegable duty owed to
Plaintiff by committing one or more of the following omissions or commissions:

a) Negligently failing to maintain or adequately maintain the premises by
improperly storing boxes in the stock room, thus creating a trip hazard in an area
that was accessible to business invitees, including the Plaintiff herein, thus
creating an unreasonably dangerous condition for Plaintiff;

b) Negligently failing to inspect or adequately inspect the premises, as
specified above, to ascertain whether the improperly stored boxes in the stock
room constituted a trip hazard to business invitees utilizing said premises,
including the Plaintiff herein, thus creating an unreasonably dangerous condition
for the Plaintiff;

Cc) Negligently failing to inspect or adequately warn the Plaintiff of the
danger of the improperly stored boxes in the stock room when Defendant knew,
or through the exercise of reasonable care, should have known that said premises
were unreasonably dangerous and that Plaintiff was unaware of the same;

d) Negligently failing to correct and/or maintain and/or adequately correct

the unreasonably dangerous condition of the improperly stored boxes in the stock

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room when said condition was either known to Defendant or had existed for a

sufficient length of time such that Defendant should have known of the same, had

Defendant exercised reasonable care;

e) Negligently failing to have adequate staff on duty and/or assigned to the

task of inspecting/maintaining the premises for dangerous conditions including

the improperly stored boxes in the stock room;

f) Negligently failing to train and/or inadequately training its employees to

inspect the premises for dangerous conditions including improperly stored boxes

in the stock room;

g) Negligently failing to follow its own corporate policy(ies) regarding the

dangerous condition;

h) Negligently failing to act reasonably under the circumstances;

i) Negligently engaging in a mode of operations when Defendant knew, or

should have known, that said mode of operations would result in dangerous

conditions to the general public, including the Plaintiff herein;

j Negligently engaging in a routine or regular practice of business that was

not the reasonable custom of the community; and

k) Negligently failing to render aid to the Plaintiff after her fall and/or

negligently rendering aid to the Plaintiff after her fall.

14. Asa result, while Plaintiff was visiting Defendant’s business and she was walking

through the stock room, she tripped and fell on the improperly stored boxes and she sustained

injuries as set forth.

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15. The specific manner in which Plaintiff was injured was foreseeable to Defendant
and Defendant knew or should have known of the specific risks of harm to Plaintiff as a result of
Defendant’s negligence.

16. Asadirect and proximate result of the negligence of Defendant, Plaintiff suffered
bodily injury in and about her body and extremities, resulting in pain, suffering, disability,
disfigurement, permanent and significant scarring, mental anguish, loss of the capacity for the
enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss of
earning, loss of the ability to earn money, and aggravation of a previously existing condition.
The losses are cither permanent or continuing and Plaintiff will suffer these losses into the future.

WHEREFORE, the Plaintiff, PATRICIA FRY, sues the Defendant, FIVE BELOW,
INC., for damages and demands judgment in excess of Thirty Thousand Dollars ($30,000.00),
plus interest, costs, and demands trial by jury on all issues so triable.

COUNT II:
NEGLIGENCE AGAINST DEFENDANT JOHN DOE

17. Plaintiff realleges and incorporates by reference paragraphs one through sixteen
above and further states:

18. At all times material to this cause of action, Defendant, JOHN DOE, was directly
responsible for maintaining and operating the store and therefore is personally responsible to
Plaintiff.

19.  Atall times material hereto, Defendant, JOHN DOE, was directly responsible for
executing FIVE BELOW, INC.’s policies and was personally involved in FIVE BELOW,

INC.’s previously described tortious conduct and is therefore personally liable to Plaintiff.

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20. At all times material hereto and by virtue of his position with FIVE BELOW,
INC., Defendant, JOHN DOE, owed Plaintiff a duty to maintain the store in a reasonably safe
condition and to warn Plaintiff of any dangerous conditions.

21. At said time and place, Defendant, JOHN DOE, owed a duty of reasonable care to
his guests, including Plaintiff, to provide a reasonably safe environment, to inspect and maintain
this environment, and to request and authorize repairs to this environment, such that his guests
would be protected from reasonably foreseeable injuries. Plaintiff alleges he breached these
duties by doing the following:

a) Negligently failing to prevent reasonably foreseeable injuries and creating
a foreseeable risk of harm to business invitees, by allowing boxes to be
improperly stored in the stock room while open for said business invitees;

b) Negligently failing to warn or adequately warn the Plaintiff of the
dangerous condition and/or trip hazard that he knew or should have known of;

c) Negligently failing to adequately remedy, remove, and/or eliminate the
dangerous condition and/or trip hazard;

d) Negligently failing to properly train his employees in adequately
remedying and/or preventing the trip hazards, such as improperly stored boxes in
an area while it is open to business invitees,

e) Negligently failing to properly supervise his employees in the inspection
of areas of the store while they are open to business invitees;

f) Negligently failing to inspect areas of the store open to business invitees

during business hours;

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g) Negligently failing to follow company policy and procedures as to
business invitee safety and the elimination and or reduction of trip hazards in
store areas open to business invitees during business hours,

h) Negligently failing to properly train his employees in adequately warning
business invitees of Defendant store’s dangerous conditions, such as improperly
stored boxes in the stock room during business hours, though the proper
placement of warning signs, restricting business invitees access to the subject area
within Defendant’s store, and/or requiring store employees to remove improperly
stored boxes from Defendant’s stock room when open for business invitees; and

i) Negligently failing to alert Five Below, Inc. of the store’s known
dangerous trip hazard condition in order to request and/or authorize alternative
and/or storage/maintenance of the stock room.

22. Asaresult, while Plaintiff was visiting Defendant’s business and she was walking
through the stock room, she tripped and fell on the improperly stored boxes and she sustained
injuries as set forth.

23. The specific manner in which Plaintiff was injured was foreseeable to Defendant
and Defendant knew or should have known of the specific risks of harm to Plaintiff as a result of
Defendant’s negligence.

24. Asa direct and proximate result of the negligence of Defendant, Plaintiff suffered
bodily injury in and about her body and extremities, resulting in pain, suffering, disability,
disfigurement, permanent and significant scarring, mental anguish, loss of the capacity for the

enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss of

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earning, loss of the ability to earn money, and aggravation of a previously existing condition.
The losses are either permanent or continuing and Plaintiff will suffer these losses into the future.

WHEREFORE, the Plaintiff, PATRICIA FRY, sues the Defendant, JOHN DOE, for
damages and demands judgment in excess of Thirty Thousand Dollars ($30,000.00), plus interest

and costs, and demands trial by jury on all issues so triable.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on September 27, 2020, I electronically filed the foregoing
with the Clerk of the Courts by using the Florida Courts eFiling Portal and the same has been

furnished by Process Server to the Defendant addressed.

/s/ Perry B. Nava

PERRY B. NAVA, ESQUIRE

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